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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

Symbology Innovations LLC                     §
                                              §
                                              §       Civil Action No.: 4:19-cv-04072
        Plaintiff,                            §
                                              §       TRIAL BY JURY DEMANDED
v.                                            §
                                              §
Firstline Manufacturing, Corp.,               §
                                              §
        Defendant.                            §

                  DEFENDANT FIRST LINE MANUFACTURING, CORP.’S
                       ANSWER TO PLAINTIFF’S COMPLAINT

        NOW INTO COURT, through undersigned counsel, comes defendant, Firstline

Manufacturing, Corp., who in answer to the complaint of plaintiff, Symbology Innovations, LLC

respectfully represents:

        The complaint fails to state a claim or cause of action upon which relief can be granted.

        As a separate and complete defense and in answer to the numbered allegations of the

complaint, defendant, Firstline Manufacturing, Corp., responds as follows:

        1.      The allegations contained in Paragraph 1 of plaintiff’s complaint contained alleged

conclusions of law and as such do not require responsive pleading; however, should this Court

require answer thereto, they are denied.

        2.      Defendant, Firstline Manufacturing, Corp., denies the truth of the allegations

contained in Paragraph 2 of the complaint for lack of knowledge or information sufficient to justify

a belief as to the truth.

        3.      The allegations contained in Paragraph 3 of the complaint are admitted.




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        4.      Defendant, Firstline Manufacturing, Corp., denies the truth of the allegations

contained in Paragraph 4 of the complaint for lack of knowledge or information sufficient to justify

a belief as to the truth.

        5.      The allegations contained in Paragraph 5 of plaintiff’s complaint contained alleged

conclusions of law and as such do not require responsive pleading; however, should this Court

require answer thereto, they are denied.

        6.      The allegations contained in Paragraph 6 of plaintiff’s complaint contained alleged

conclusions of law and as such do not require responsive pleading; however, should this Court

require answer thereto, they are denied.

        7.      The allegations contained in Paragraph 7 of plaintiff’s complaint contained alleged

conclusions of law and as such do not require responsive pleading; however, should this Court

require answer thereto, they are denied.

        8.      The allegations contained in Paragraph 8 of plaintiff’s complaint contained alleged

conclusions of law and as such do not require responsive pleading; however, should this Court

require answer thereto, they are denied.

        9.      The allegations contained in Paragraph 9 of plaintiff’s complaint contained alleged

conclusions of law and as such do not require responsive pleading; however, should this Court

require answer thereto, they are denied.

        10.     Defendant, Firstline Manufacturing, Corp., denies the truth of the allegations

contained in Paragraph 10 of the complaint for lack of knowledge or information sufficient to

justify a belief as to the truth.




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        11.     Defendant, Firstline Manufacturing, Corp., denies the truth of the allegations

contained in Paragraph 11 of the complaint for lack of knowledge or information sufficient to

justify a belief as to the truth.

        12.     Defendant, Firstline Manufacturing, Corp., denies the truth of the allegations

contained in Paragraph 12 of the complaint for lack of knowledge or information sufficient to

justify a belief as to the truth.

        13.     Defendant, Firstline Manufacturing, Corp., denies the truth of the allegations

contained in Paragraph 13 of the complaint for lack of knowledge or information sufficient to

justify a belief as to the truth.

        14.     Defendant, Firstline Manufacturing, Corp., denies the truth of the allegations

contained in Paragraph 14 of the complaint for lack of knowledge or information sufficient to

justify a belief as to the truth.

        15.     Defendant, Firstline Manufacturing, Corp., denies the truth of the allegations

contained in Paragraph 15 of the complaint for lack of knowledge or information sufficient to

justify a belief as to the truth.

        16.     The allegations contained in Paragraph 16 of the complaint are denied.

        17.     The allegations contained in Paragraph 17 of the complaint are denied.

        18.     The allegations contained in Paragraph 18 of the complaint are denied.

        19.     The allegations contained in Paragraph 19 of the complaint are denied.

        20.     The allegations contained in Paragraph 20 of the complaint are denied.

        21.     The allegations contained in Paragraph 21 of the complaint are denied.

        22.     The allegations contained in Paragraph 22 of the complaint are denied.

        23.     The allegations contained in Paragraph 23 of the complaint are denied.



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        24.     Defendant, Firstline Manufacturing, Corp., denies the truth of the allegations

contained in Paragraph 24 of the complaint for lack of knowledge or information sufficient to

justify a belief as to the truth.

        25.     The allegations contained in Paragraph 26 of plaintiff’s complaint contained

alleged conclusions of law and as such do not require responsive pleading; however, should this

Court require answer thereto, they are denied.

        26.     Defendant, Firstline Manufacturing, Corp., denies the truth of the allegations

contained in Paragraph 27 of the complaint for lack of knowledge or information sufficient to

justify a belief as to the truth.

        27.     The allegations contained in Paragraph 28 of the complaint are denied.

        28.     The allegations contained in Paragraph 29 of the complaint are denied.

        29.     Defendant, Firstline Manufacturing, Corp., denies the truth of the allegations

contained in Paragraph 30 of the complaint for lack of knowledge or information sufficient to

justify a belief as to the truth.

        30.     Defendant, Firstline Manufacturing, Corp., denies the truth of the allegations

contained in Paragraph 31 of the complaint for lack of knowledge or information sufficient to

justify a belief as to the truth.

        31.     Defendant, Firstline Manufacturing, Corp., denies the truth of the allegations

contained in Paragraph 32 of the complaint for lack of knowledge or information sufficient to

justify a belief as to the truth.

        32.     The allegations contained in Paragraph 33 of the complaint are denied.




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       33.     The allegations contained in Paragraph 34 of plaintiff’s complaint contained

alleged conclusions of law and as such do not require responsive pleading; however, should this

Court require answer thereto, they are denied.

                                             PRAYER

       WHEREFORE, Defendant, Firstline Manufacturing, Corp, prays that this its answer be

deemed good and sufficient, and after due proceedings had, there be a decree in its favor and

against plaintiff, dismissing the complaint at plaintiff’s cost. Defendant further prays for such other

orders and judgments as may be deemed just and this Court may be competent to grant.



                                               Respectfully Submitted,
                                               KILLEEN & STERN, PC


                                               By:     /s/ Robert J. Killeen, Jr.
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                                               ATTORNEY FOR DEFENDANT




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                                CERTIFICATE OF SERVICE

       On the 5th day of March, 2020, I electronically submitted the foregoing document with the
Clerk of Court for the U.S. District Court, Southern District of Texas, using the Electronic Filing
System of the Court. I hereby certify that I have served all counsel of record electronically or by
another manner authorized by FEDERAL RULE OF CIVIL PROCEDURE.

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                                                        /s/ Robert J. Killeen, Jr.
                                                     Robert J. Killeen, Jr.




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